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                            IN THE UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF COLORADO

   Civil Action No.: 1:18-cv-00262-RBJ-MJW

   NKETIA SISK,

               Plaintiff,

   v.

   AD ASTRA RECOVERY SERVICES, INC.,

               Defendant.


                   ORDER FOR DISMISSAL WITHOUT PREJUDICE
   ______________________________________________________________________________

           Based upon the stipulation of the parties, agreeing to arbitrate their claims and dismiss

   this matter without prejudice, and all files, records and proceedings herein,

           IT IS HEREBY ORDERED:

           1.         That the above-captioned action shall be and is hereby dismissed without

   prejudice and on the merits without costs, disbursements or attorney fees to any party and a

   judgment of dismissal without prejudice may be entered accordingly.



           April 23
   Dated: ____________________, 2018                            __________________________
                                                                Judge
                                                                United States District Court




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